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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION
 Joel Vangheluwe and Jerome
 Vangheluwe,
                  Plaintiffs,
                                             Case No. : 2:18-cv-10542-LJM-EAS
       v.
                                             Hon. Laurie J. Michelson
 GotNews, LLC, Freedom Daily,
 LLC, Charles C. Johnson, Alberto            Mag. Elizabeth A. Stafford
 Waisman, Jeffrey Rainforth, Jim
 Hoft, David Petersen, Jonathan Spiel,
 Shirley Husar, Eduardo Doitteau,
 Lita Coulthart-Villanueva, Kenneth
 Strawn, Patrick Lehnhoff, Beth
 Eyestone, Lori Twohy, Raechel
 Hitchye, James Christopher Hastey,
 Christopher Jones, Connie Comeaux,
 Gavin McInnes, Richard Weikart,
 and Paul Nehlen,
                  Defendants.




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PLAINTIFFS’ RESPONSE TO DEFENDANT PAUL NEHLEN’S FOURTH MOTION FOR DISMISSAL – PAGE 1
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                                  Joel Vangheluwe



 PLAINTIFFS’ RESPONSE TO DEFENDANT PAUL NEHLEN’S FOURTH
                  MOTION FOR DISMISSAL

      NOW COME Plaintiffs Joel Vangheluwe and Jerome Valgheluwe, by and

through Attorney Andrew B. Sommerman of Sommerman, McCaffity & Quesada,

LLP, and hereby respond to Defendant Paul Nehlen’s Fourth Motion for Dismissal.

      1.     Defendant, in his own words, stated that Plaintiff Joel Vangheluwe is a

             car terrorist and open borders druggie. This is defamation.

      2.     This Court has jurisdiction since Defendants clearly identified Plaintiffs

             as Michigan residents, a Michigan student, and Michigan car owner

             who used his car to commit terrorism.

      3.     Defendant is neither a website nor local news agency entitled to the

             defenses under the CDA and the news wire defense.

                                   CONCLUSION

      This Court should deny Defendant Paul Nehlen’s Fourth Motion to Dismiss.


PLAINTIFFS’ RESPONSE TO DEFENDANT PAUL NEHLEN’S FOURTH MOTION FOR DISMISSAL – PAGE 2
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                                      PRAYER

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs’ request this Court

deny Defendant Paul Nehlen’s Fourth Motion to Dismiss.

                                               Respectfully submitted,

                                               SOMMERMAN, McCAFFITY
                                               & QUESADA, L.L.P.

                                               _/s/_Andrew B. Sommerman_______
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PLAINTIFFS’ RESPONSE TO DEFENDANT PAUL NEHLEN’S FOURTH MOTION FOR DISMISSAL – PAGE 3
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             UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF MICHIGAN
 SOUTHERN DIVISION FOR THE EASTERN DISTRICT OF MICHIGAN
 Joel Vangheluwe and Jerome
 Vangheluwe,
                Plaintiffs,
                                         Case No. : 2:18-cv-10542-LJM-EAS
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                                         Hon. Laurie J. Michelson
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       BRIEF IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
  DEFENDANT PAUL NEHLEN’S FOURTH MOTION FOR DISMISSAL




BRIEF IN SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANT PAUL NEHLEN’S
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            I. CONCISE STATEMENT OF ISSUES PRESENTED.

      1.     Did Defendant Nehlen subject himself to the jurisdiction of this Court?

             Plaintiffs’ answer: Yes; Nehlen’s anticipated response: No.

      2.     Is Defendant’s defamatory statements protected by the Communication

             Decency Act?

             Plaintiffs’ answer: No; Nehlen’s anticipated response: Yes.

      3.     Is Defendant’s defamatory statements protected by the Wire Service

             Defense?

             Plaintiffs’ answer: No; Nehlen’s anticipated response: Yes.




                                                ii




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                             SUMMARY OF THE ARGUMENT

         Defendant claims that because he made defamatory statements, attached an

 article form “Got News” on his social media account about a Michigan resident, he

 has no liability, and this Court has no jurisdiction.1 Defendant relies exclusively on

 the use of his own Twitter account for the proposition that defamation is acceptable

 on the internet so long as it is accompanied by a news article, and alleges this Court

 has no jurisdiction because the statement was made on the internet. This is not true.

                                   A. Defendant’s own words.

         Defendant created his own content on his account by calling Plaintiff a “car

 terrorist” and “open borders druggie.” 2 This is not true. He then selected a GotNews

 “article” that further defames Plaintiffs and identifies Plaintiffs in detail as being

 citizens of Michigan.




 1
  A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) tests a complaint's legal
 sufficiency. "To survive a motion to dismiss, a complaint must contain sufficient factual matter,
 accepted as true, to 'state a claim to relief that is plausible on its face.'" Ashcroft v. Iqbal, 556 U.S.
 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.
 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)). The Iqbal Court explained, "[a] claim has
 facial plausibility when the plaintiff pleads factual content that allows the court to draw the
 reasonable inference that the defendant is liable for the misconduct alleged." Id.
 2
  Nehlen posted from his Twitter account “Breaking! #Charlottesville car terrorist is anti-Trump,
 open borders druggie.” The then incorporated a GotNews article into his post which names Joel
 Vangheluwe as the attacker. See Plaintiffs’ Amended Complaint, ¶¶ 106-107, pp. 42-43.

 BRIEF IN SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANT PAUL NEHLEN’S
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       By stating Plaintiff is a “car terrorist” and “open borders druggie,” and then

 selecting the GotNews article for its defamatory content for dissemination,

 Defendant further enhances the context of his own statements and those of GotNews.

 It leads to a “framing effect,” which focuses the attention to it and influences its

 interpretation and the magnitude ascribed to it, especially when the statements are

 endorsed by a politician’s own words that Joel Vangheluwe is a terrorist and open

 borders druggie, and then bolstering his own words with defamation of GotNews.

 See, Amos Tversky & Daniel Kahneman, The Framing Effect of Decisions and

 Psychology of Choice, 211 SCI, 453, 457-88 (1981).

       His own word selection and the addition of GotNews defamatory content for

 dissemination enhances its magnitude and exacerbates the gravity of harm. It also

 increases the likelihood of users to spread the defamatory speech, because the more

 people have access to it, the more likely they are to believe the speech. Thus, it may

 generate informational and reputational cascades and lead to an extensive diffusion

 of ideas through the network.

              B. Nehlen’s actions subjected him to Michigan courts.

       Plaintiffs have pled facts that clearly demonstrate that this Court has

 jurisdiction. Defendant is a politician raising money in Michigan. He defamed

 Plaintiffs as part of his alt-right agenda. Amended Complaint, ¶¶. 39-41. As part of



 BRIEF IN SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANT PAUL NEHLEN’S
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 his defamatory Tweet, he included information about Plaintiffs being from

 Michigan. There are sufficient contacts with Michigan for there to be jurisdiction.

        Defendant is no stranger to Michigan. He is a former citizen of this state who

 is now a politician in Wisconsin. He is a self-proclaimed “pro white Christian

 American candidate.”3 He raises funds in Michigan to support his alt-right political

 candidacy. He made the statements in this case to show his support for the alt-right

 agenda, which in turn would help his fundraising in Michigan. He has clearly

 availed himself of the jurisdiction of this Court.

                 C. Defendant is not a website or local news agency.

        Defendant puts forth two arguments that claim to protect the Defendant from

 liability. First, the Defendant cites the Communications Decency Act, 47 U.S.C. §

 230 (The “CDA”), and states that the CDA absolutely shields him from liability.

 (Motion to Dismiss at 18). Secondly, Defendant claims that the wire-service defense

 protects him from liability. (Motion to Dismiss at 18-19).




 3
   https://www.washingtonpost.com/opinions/the-trump-era-is-a-renaissance-of-half-witted-
 intolerance/2018/05/17/09c8848c-59f7-11e8-858f-
 12becb4d6067_story.html?noredirect=on&utm_term=.82391b34d84b

 https://www.vox.com/policy-and-politics/2018/4/12/17224086/paul-nehlen-alt-right-paul-ryan-
 race

 https://www.cnn.com/2018/05/04/opinions/strange-collection-of-extremists-running-as-
 republicans-opinion-love/index.html

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       Mr. Nehlen’s Twitter account is neither a neutral website nor an interchange

 computer service. Moreover, he did not simply pass on a “news story.” Instead, he

 made his own comment that Plaintiff was a “car terrorist,” “anti-Trump,” “open

 borders druggie.” Defendant admits in his motion he wrote the words, “Breaking

 Charlottesville car terrorist is anti-Trump, open borders druggie,” and then goes on

 to attach the GotNews’ article, identifying the Plaintiffs with pictures and statements

 of how they reside in Michigan. Defendant Nehlen’s Fourth Amended Motion for

 Dismissal Pursuant to Fed. R. Civ. P. 12(B)(2) and 12(B)(6), p. 6. He created the

 content that called Plaintiff a car terrorist and open borders druggie. Since he created

 the content, he must be liable for it. Falsely accusing Plaintiff of being a “car

 terrorist” is defamation. Elhamaji v. Fox Television Stations, Inc., 37 Misc. 3d

 1232(a), 966 N.Y.S. 2d 345 (Sup. Ct. 2012).

       Accusing Plaintiff of being an “open borders druggie” is defamation. Shafer

 v. City of Boulder, 876 F. Supp. 2d 915 (D. Nev. 2012); Taylor v. Brinker Int’l

 Payroll Corp., No. 00 C 3866, 2002 WL 471994 (N.D. Ill., Mar. 22, 2002).

       The Court should deny the Defendant’s Motion to Dismiss.

                                    I. ARGUMENT

          A. Nehlen has availed himself of the jurisdiction of this Court.

       The Court has jurisdiction so long as Defendant’s actions are done in

 Michigan or consequences occur in Michigan from Defendant’s tort. M.C.L., §

 BRIEF IN SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANT PAUL NEHLEN’S
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 600.75. Plaintiffs have alleged facts that give this Court jurisdiction. Below are

 some of those facts:

       39. Defendant Paul Nehlen. Defendant Paul Nehlen is an alt-right
       politician who has deliberately availed himself to the jurisdiction of
       Michigan courts. Defendant Paul Nehlen made a defamatory statement
       that he knew would have a potentially devastating impact upon the
       Plaintiffs, and he knew that the brunt of that injury would be felt by the
       Plaintiffs in Michigan – the state where Plaintiffs live and work. Under
       these circumstances, Defendant Paul Nehlen reasonably anticipated
       being haled into court in Michigan to answer for the truth of the
       statements made.

        40. Defendant Paul Nehlen is seeking office as a member of the U.S.
       House of Representatives. He seeks to occupy the seat now held by
       Speaker of the House Paul Ryan. Defendant Paul Nehlen has furthered
       his political agenda by seeking contributors in Michigan and the
       support of Michigan residents. To further his alt-right agenda,
       Defendant Paul Nehlen sent the defamatory message at issue through
       his Twitter account to his supports in Michigan to curry favor with them
       and gain financial support for his campaign. Defendant Paul Nehlen
       purposely availed himself of the privilege of acting in Michigan though
       his website, because his website is interactive to a degree that reveals
       he specifically intended interaction with residents of Michigan.
       Defendant Paul Nehlen intentionally committed a tortious act which
       was expressly aimed for dissemination in Michigan, and the brunt of
       the effects of those actions were felt within Michigan. Defendant
       Nehlen’s defamatory statement – discussed in more detail below – was
       in further support of his alt-right political platform. He knowingly
       targeted a Michigan resident, as the article stated Joel Vangheluwe
       lived in Michigan, the car was registered in Michigan, and Joel
       Vangheluwe went to high school in Michigan. Defendant Nehlen is a
       politician whose Campaign Finance Reports confirm he raises money
       from Michigan citizens. This was a call to action about Michigan
       residents.

       41. His motive is to collect monetary funds to support his campaign
       and alt-right political agenda. In fact, Defendant Paul Nehlen’s

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        Campaign Finance Report stated that 95% of his contributions came
        from outside his home state, with Michigan being identified as one of
        the top six states to contribute money. 4 Defendant Nehlen raised more
        money in Michigan than he did in his home state.5 Defendant Paul
        Nehlen’s political campaign website touts his business experience,
        including servicing as the director and general manager for SPX
        Corporation in Michigan from 2012 to 2013. 6 Defendant Paul Nehlen
        owned property in Michigan, worked in Michigan, and previously
        resided in Michigan. In February 2018, Defendant Paul Nehlen was
        also a featured speaker at Battle Cry ’18 -- an event sponsored by the
        Michigan Conservative Coalition and recognized as “Michigan’s and
        the Midwest’s premier annual event for conservatives”-- at the Soaring
        Eagle Casio and Resort in Mt. Pleasant, Michigan.7 In 2012, Defendant
        Nehlen “transferred his vote registration to Richland, MI in order to
        vote there in the 2012 general election.”8

        These facts have not been disputed and should be taken as true. Iqbal, 556

 U.S. 662 (2009). Defendant Nehlen, an alt-right politician, made defamatory

 comments about Michigan residents that caused severe harm to Plaintiffs in

 Michigan. (Amended Complaint, p. 11.) Defendant attached a news article that (1)

 identified Plaintiffs as Michigan residents, (2) identified Joel as going to a Michigan

 high school in Romeo, Michigan, (3) identified Joel as aspiring to be a Michigan

 State University student, (4) claimed the murder weapon is a car that was owned by

 Jerome in Michigan, and (5) stated the vehicle was licensed in Michigan where




 4
   http://mediatrackers.org/2016/07/20/top-takeaways-paul-nehlens-campaign-finance-report/
 5
   http://mediatrackers.org/2016/07/20/top-takeaways-paul-nehlens-campaign-finance-report/
 6
   http://www.electnehlen.com/
 7
   https://www.waamradio.com/event/paul-nehlen-to-speak-at-battle-cry-18/
 8
   http://mediatrackers.org/2016/04/19/ryan-challenger-registered-vote-4-states-10-years/

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 Jerome worked. Defendant’s defamation was directed into Michigan. This alone is

 sufficient to provide jurisdiction to this Court. Calder v. Jones, 465 U.S. 783 (1984),

 Walden v. Fiore, 471 U.S. 469 (2014).

       This Court need look no further than Alahverdian v. Nemelka, 3:15-CV-060,

 2015 WL 5004866 at *7 (SD Ohio Aug. 24, 2015). In Alahverdian, plaintiff’s

 identity was stolen and used by defendant on the internet and Twitter account as his

 own. Defendant wrote disgusting and inappropriate emails using plaintiff’s identity.

 Plaintiff sued defendant for sending these emails and tweets.

       Defendant, a citizen of Utah, claimed that the Ohio court lacked jurisdiction

 over him. The court disagreed:

       Although Defendant may have never traveled to Ohio, nor has he
       previously conducted activities within Ohio, it is alleged that Defendant
       sent electronic communications to various internet users world-wide
       causing harm to Plaintiff whom Defendant knew to reside in Ohio.
       Additionally, as mentioned above, although mere injury is not a
       sufficient connection with the forum State, this injury suffices since the
       Defendant in this case, unlike the one in Walden, formed and initiated
       the contact with the forum State himself.

       Furthermore, the Sixth Circuit has held that “’[m]aking phone calls and
       sending facsimiles into the forum, standing alone, may be sufficient to
       confer jurisdiction on the foreign defendant where the phone calls and
       faxes form the bases for the action.’” Rice, 154. Fed. Appx. At 460
       quoting Neal v. Janssen, 270 F.3d 328, 332 (6th Cir. 2001). Similar to
       making phone calls or sending facsimiles, sending emails into the
       forum intended to harm a specific person located in that forum is
       sufficient to confer jurisdiction over a foreign defendant where the
       emails form the basis for the action.


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       Here, Defendant Nehlen clearly knew Plaintiffs were from Michigan and cited

 the GotNews article identifying them as Michigan citizens. Nehlen’s use of the

 GotNews article went beyond merely identifying location, but also their schools,

 their pictures, their cars and their screenshots of Plaintiffs’ social media accounts.

 This is sufficient contact with Michigan for jurisdiction. Like in Alahverdian, the

 alternative to plaintiff filing suit in his home jurisdiction is to file in defendant’s

 home state. This is not a reasonable solution.

       . . . it would place the same burdens, if not additional burdens, on the
       Plaintiff as this case in Ohio places on the Defendant. The difference,
       however, is Plaintiff arguably did not act in any way to bring this upon
       himself. Instead, Defendant allegedly directed his activity towards
       Plaintiff in Ohio to harm Plaintiff in Ohio. Thus, even if all there is here
       is a Defendant broadcasting things to the world about Plaintiff, it is
       more than what Utah would have under these circumstances.

       Therefore, since the Ohio long-arm statute confers jurisdiction, and
       Federal Due Process concerns do not defeat jurisdiction, this court
       denies Defendant’s Rule 12(b)(2) motion.

               B. Calder effects test requires jurisdiction in Michigan.

       It is called the “Calder effects test” because jurisdiction arises from “effects”

 of defamation occurring in the Plaintiffs’ resident state.

       In Calder, Shirley Jones (of Partridge Family fame) sued the National

 Enquirer and Calder (the editor of the article) for defamation. The National Enquirer

 had alleged Jones was an alcoholic (here Defendant claims Plaintiff was a

 “druggie”).

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       The U.S. Supreme Court in a unanimous decision noted that Ms. Jones was in

 California and the “effect” of the defamation was in California. The court rejected

 defendant’s argument that the National Enquirer should be sued in Florida since the

 defendant was based in Florida and had made the statements in Florida. The court

 noted that defendant “wrote and edited an article that they knew would have a

 potentially devastating impact on [Jones], and they knew that the brunt of that injury

 would be felt by [Jones] in the state in which she lives . . . .” Calder at 783.

       Here, Defendant knew that his defamatory statements were made against a

 Michigan resident, and the effects would be felt in Michigan. Defendant even

 identified Plaintiffs as Michigan residents who lived in Michigan, went to school in

 Michigan and owned and drove the car in Michigan. (Amended Complaint, p. 11.)

 Under the Calder effects test, jurisdiction in Michigan is proper.

             C. Defendant’s purpose was to raise money in Michigan.

       Defendant Nehlen has not disputed, and this Court should accept as true, a

 number of facts from Plaintiffs’ Complaint that show Nehlen’s intent to avail himself

 of this jurisdiction when he committed the acts of defamation. Ashcroft v. Iqbal, 556

 U.S. 662,678 (2009) (Plaintiff’s allegation in complaint must be accepted as true.).

       Defendant fails to address Plaintiffs’ allegations that he is a politician seeking

 to raise money in Michigan. Plaintiffs have alleged that the purpose of Defendant’s

 statement was to further his political agenda so he could raise money in Michigan

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 for his alt-right agenda. Such allegations meet the test set out in CompuServe v.

 Patterson.

       In CompuServe, the Sixth Circuit addressed the significance of doing business

 over the Internet. CompuServe, Inc. v. Patterson, 89 F. 3d 1257 (6th Cir. 1996). In

 that case, Patterson, a Texas resident, entered into a contract to distribute shareware

 through CompuServe’s Internet servicer located in Ohio. CompuServe, 89. F.3d. at

 1260. From Texas, Patterson electronically uploaded thirty-two master software

 files to CompuServe’s server in Ohio via the Internet. Id. at 1261. One of

 Patterson’s software products was designed to help people navigate the Internet. Id.

 When CompuServe later began to market a product that Patterson believed to be

 similar to his own, he threatened to sue. Id. CompuServe brought an action in the

 Southern District of Ohio, seeking a declaratory judgment. Id. The District Court

 granted Patterson’s motion to dismiss for lack of personal jurisdiction and

 CompuServe appealed. Id. The Sixth Circuit reversed, reasoning that Patterson had

 purposefully directed his business activities toward Ohio. Id., at 1264-66.

       As in Zippo and in CompuServe, the test is what business activities did the

 defendant intend in the jurisdiction. Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F.

 Supp. 1119 (W.D. Pa. 1997). Here, Plaintiffs have alleged that Defendant’s purpose

 in defaming Plaintiffs was to further his business as a politician. Defendant raises

 funds in Michigan since it was his former place of citizenship. Defendant defamed

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 Plaintiffs in Michigan to curry favor with those who have a similar alt-right agenda

 in Michigan and ultimately seek contributions from them.

       Defendant ignores all of these facts in his Motion to Dismiss. Defendant fails

 to address the fact that his defamation was directed at a Michigan resident, going to

 school in Michigan, and that the car he claims was used was owned by Plaintiffs in

 the past in Michigan.      Yet, these facts link the defamatory statements to his

 fundraising efforts in Michigan. There can be no clearer intent to avail himself of

 Michigan jurisdiction.

                  D. Defendant’s reliance on Binion is misplaced.

       The majority of Defendant’s argument on jurisdiction is based on the Binion

 decision. Binion is easily distinguished. In Binion, the famous basketball player

 Shaquille O’Neal posted a picture of plaintiff and himself. Binion v. O’Neal, 95 F.

 Supp. 3d 1055 (E.D. Mich. 2015). O’Neal attempted to make a face, mimicking

 plaintiff and highlighting plaintiff’s disabilities. Plaintiff suffered from a rare

 genetic condition called ectodermal dysplasia, which causes cosmetic abnormalities.

       Considering the decision in Binion and looking at the underlying pleadings

 (of which Plaintiffs ask the Court to take judicial notice), it is clear that O’Neal never

 said that plaintiff lived in Michigan; O’Neal didn’t know plaintiff lived in Michigan.

 O’Neal made no derogatory comments about plaintiff but did make a distasteful

 photograph of himself by making a face.           He did not claim any defamatory

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 statements that linked plaintiff to Michigan. The photo of plaintiff that O’Neal used

 had come from plaintiff’s own Instagram post but did not have the same notations

 of his home state as Defendant did here of the Vangheluwes. In O’Neal, defendant

 made no identification of plaintiff being from Michigan, but here, the identity is

 repleat with defamation as stated earlier.

       The Binion facts are very different from the case at hand. Here, Defendant

 knew Plaintiffs are from Michigan, identified them as Michigan residents and

 showed pictures of Plaintiff on social media that identified him from Michigan.

 Defendant stated Plaintiff had been a student at Romeo High School in Michigan,

 stated that Plaintiff wanted to attend Michigan State University, and stated that

 Jerome owned the murder weapon, a car, in Michigan. Defendant made these

 statements in furtherance of his business as a politician, so he could continue his

 fundraising in Michigan with likeminded individuals in Michigan and with his

 former business colleagues and friends from when he was a resident and business

 owner in this State. He continues to fundraise and give political speeches in

 Michigan to further the same goal he had by publishing the defamatory statements

 of Plaintiff. None of these facts were present in the Binion case. In fact, the Binion

 court made mention that no such connection to Michigan had been made.

    II. THE COMMUNICATIONS DECENCY ACT, 47 U.S.C. § 230 (THE
           “CDA”), DOES NOT APPLY TO THE DEFENDANT.


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       Defendant attempts to explain this controversy by using a hypothetical.

 (Motion to Dismiss at 13). This hypothetical explains precisely what did not happen.

 In this case, the Defendant did not simply pass on information to third parties

 walking by. Rather the Defendant pointed at a particular individual, and stated false,

 defamatory terms as facts.

       Defendant’s example of this controversy playing out at a street corner

 indicates a fundamental lack of understanding of the present issue. A more

 analogous example would be the tortfeasor pointing to the plaintiff and saying to

 third-parties walking by—“Holy cow! This guy is the Charlottesville Car Terrorist

 and he is also an Anti-Trump, Open Borders Druggie. Here’s information from

 GotNews (a group I contribute articles to) about how he is located in Michigan and

 how he committed the crime.”

        A.     The Communications Decency Act, 47 U.S.C. § 230 (The “CDA”),
                         does not apply to the Defendant.

       Defendant would have this Court believe that the Communications Decency

 Act, 47 U.S.C. § 230 (the “CDA”), shields anyone from liability that uses Twitter.

 (Motion to Dismiss at 13). In essence, Defendant’s argument is that defamation is

 acceptable so long as it is said on social media and you attach a news reference.

 Defendant has misunderstood the objective of the CDA. The CDA provides some

 level of immunity to “interactive computer service.” In other words, it protects those


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 websites that are a conduit for information so long as the website did not create the

 content. MCW v. Badbusinessbureau.com, 2004 WL 833595 (N.D. Tex. 2004).

 Here, it protects Twitter, not Nehlen. Defendant created content when he called Joe

 Vangheluwe a “car terrorist” and an “open borders druggie.” The immunity under

 CDA would allow Twitter to escape liability since it did not create the defamatory

 statement, but not an individual like Mr. Nehlen.

                        B. Meaning and purpose of the CDA Act.
       A fundamental tenant of statutory construction states that “a court must (as

 usual) interpret the relevant words not in a vacuum, but with reference to the

 statutory context, structure, history, and purpose. Torres v. Lynch, 136 S. Ct. 1619,

 1626 (2016), Abramski v. United States, 134 S. Ct. 2259, 2267 (2014).

       The CDA itself is titled “Protection for private blocking and screening of

 offensive material.” 47 U.S.C. § 230. This heading is consistent with the overall

 purpose of the CDA which is explicitly stated in a House Conference Report. “One

 of the specific purposes of this section is to overrule Stratton-Oakmont v. Prodigy

 and any other similar decisions which have treated such providers and users as

 publishers or speakers of content that is not their own because they have restricted

 access to objectionable material.” H.R. CONF. REP. 104-458 at 194 (1996), as

 reprinted in 1996 U.S.C.C.A.N. 10, 208.




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       Courts in Michigan have correctly understood the application and scope of the

 CDA. See Jones v. Dirty World Entm't Recordings LLC, 755 F.3d 398, 407 (6th Cir.

 2014) (At its core, § 230 bars "lawsuits seeking to hold a service provider liable for

 its exercise of a publisher's traditional editorial functions—such as deciding whether

 to publish, withdraw, postpone or alter content.")

       This Court need look no further then MCW, Inc. v. Badbusinessbureau.com,

 LLC, No. CIV. A. 3:02-CV-2727-G, 2004 WL 833595 (N.D. Tex. Apr. 19, 2004).

 In MCW, the defendant badwitnessbureau.com (hereinafter “BBB”) posts consumer

 complaints on the “Ripoff Report” website. Defendant Magedson was an individual

 who posted on that website derogatory comments about MCW. The court went on

 to analyze the defendant’s right to immunity under the CDA. In order to be immune,

 the defendant must be an interactive computer service. Defendant Nehlen is not such

 a provider. Twitter is such a provider. The court further explained that: “In

 determining whether the defendants qualify as information content providers, the

 critical issue is whether they are ‘responsible in whole or in part, for the erection or

 development of [any disputed] information.” Id.

       As in the MCW case, “In creating headings, reports, titles, and messages, the

 defendants are also information content providers because they are ‘responsible, in

 whole or in part, for the creation or development of third parties’ defamatory

 messages.” Id. at *10.

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         Here, Defendant clearly states that Plaintiff was a “car terrorist” and an “open

 borders druggie.” This is Defendant’s content he provided before he attached the

 GotNews article.

         The purpose of the CDA is to give Twitter immunity as it is an “interactive

 computer service,” but Nehlen is not.

        C. Defendant is not an “an interactive computer service” under the CDA.
         Defendant has mischaracterized his profile as “an interactive computer

 service.” (Motion to Dismiss at 14). Defendant has given the statutory definition of

 the “interactive computer service” without any explanation on why a Twitter Profile

 would be an “interactive computer service” under the CDA. (Motion to Dismiss at

 14).

         In fact, case law has given an indication of what would be considered an

 “interactive computer service” and a profile on social media has not been included.

 The following list is a compilation of internet resources that are considered to be an

 “interactive computer service” under the statute:

    1) Website hosting service - Ricci v. Teamsters Union Local 456, C.A.2 (N.Y.)
       2015, 781 F.3d 25.
    2) Social networking website - Klayman v. Zuckerberg, C.A.D.C.2014, 753
       F.3d 1354, 410 U.S.App.D.C. 187, certiorari denied 135 S.Ct. 680, 190
       L.Ed.2d 391; Pennie v. Twitter, Inc., N.D.Cal.2017, 281 F.Supp.3d 874;
        Caraccioli v. Facebook, Inc., N.D.Cal.2016, 167 F.Supp.3d 1056,
       affirmed 700 Fed.Appx. 588, 2017 WL 2445063.


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    3) Internet search engine operator - Baldino's Lock & Key Service, Inc. v.
       Google, Inc., E.D.Va.2015, 88 F.Supp.3d 543, affirmed 624 Fed.Appx. 81,
       2015 WL 7888322; O'Kroley v. Fastcase, Inc., 831 F.3d 352, 354 (6th Cir.
       2016).
    4) Internet website - Directory Assistants, Inc. v. Supermedia, LLC,
       E.D.Va.2012, 884 F.Supp.2d 446; Carafano v. Metrosplash.com Inc.,
       C.D.Cal.2002, 207 F.Supp.2d 1055, affirmed on other grounds 339 F.3d
       1119.
       There is no case that has held the content created, edited, added to and

 disseminated by an individual Twitter account is a type of “interactive computer

 service.”

       Case law is consistent with the statutory definition of the CDA. Under the

 CDA, the term "interactive computer service" means any information service,

 system, or access software provider that provides or enables computer access by

 multiple users to a computer server, including specifically a service or system that

 provides access to the Internet and such systems operated or services offered by

 libraries or educational institutions. 47 U.S.C. § 230(f)(2).

       Therefore, Twitter, rather than Defendant, will be considered an “interactive

 computer service” since Twitter, and not Defendant’s Twitter profile provided or

 enabled computer access by multiple users to a computer service.

                             D. Defendant’s cases distinguished:
       O'Kroley v. Fastcase, Inc.
       Defendant cites O'Kroley v. Fastcase, Inc., 831 F.3d 352 (6th Cir. 2016), cert.

 denied, 137 S. Ct. 639, 196 L. Ed. 2d 538 (2017) to support the argument that the
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 case against the Defendant should be dismissed. (Motion to Dismiss at 15). However

 O'Kroley, does not apply as the CDA is not implicated in the present case.

       In O’Kroley, plaintiff brought action against internet search engines, alleging

 various claims related to “severe mental anguish” he purportedly suffered due to

 manner in which search results for his name were displayed. Id. at 354.

       The Court correctly interpreted the provisions under CDA and held that under

 Communications Decency Act, internet search engine could not be held liable for

 claims related to manner in which search results were displayed. Id. Plaintiffs agree

 with this decision: Google and Twitter are immune, not Nehlen.

       Specifically the court states, “Seeking to encourage websites like Google to

 reproduce content from other Internet users, see id. § 230(a)-(b), Congress enacted

 the Communications Decency Act, which applies to ‘interactive computer service

 provider[s]’ and which immunizes them from claims that seek to treat them as

 ‘publisher[s]’ of third-party content.” Id.

       Roca Labs, Inc., v. Consumer Opinion Corp.,
       Defendant cites a case from Florida: Roca Labs, Inc., v. Consumer Opinion

 Corp., 140 F.Supp.3d 1311 (M.D. Fla. 2015). (Motion to Dismiss at 15). In Roca,

 the defendant was a consumer review website therefore the CDA immunity

 provision was relevant. As discussed in Section II, a private individual’s Twitter

 profile is not given protection under the CDA.

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       Jones v. Dirty World Entertainment Recordings

       Defendant then cites Jones v. Dirty World Entertainment Recordings, LLC.

 (Motion to Dismiss at 15). In Jones, a Cheerleader for professional football team

 brought action asserting state-law defamation claims against operators of user-

 generated, online tabloid. Jones v. Dirty World Entm't Recordings LLC, 755 F.3d

 398 (6th Cir. 2014).

       Defendant mistakenly relies on Jones to assert Defendant is shielded from

 liability by the CDA because he did not materially contribute to the original article

 published by GotNews for which Defendant thereafter opined. (Motion to Dismiss

 at 17). That is not true. Defendant called Plaintiff a “car terrorist” and “open borders

 druggie.”

             III. WIRE SERVICE DEFENSE DOES NOT APPLY TO THE
                                DEFENDANT.

             A. Wire-service defense can be used by newspapers agencies.
       Defendant claims he is a news agency. He is not. He is an alt-right politician

 with a Twitter account. Yet, Defendant claims the “wire service defense” allows

 him to offer inaccurate commentary about breaking news stories of public concern—

 even when the underling news story constitutes fake news— such as the one

 published by GotNews. (Motion to Dismiss at 17).




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       Defendant cites Howe v. Detroit Free Press to support this proposition.

 (Motion to Dismiss at 18). However, a quick reading of Howe clarifies when the

 wire-service defense can be used. “In summary, if a local news organization

 republishes, without substantial change or knowledge of falsity, a wire-service

 release received from a reputable news agency, the contents of which do not

 reasonably indicate potential inaccuracy, the wire-service defense is available, and

 the local news organization has no duty to independently verify the accuracy of the

 wire release and cannot be negligent, as a matter of law, for failing to do so.” Howe

 v. Detroit Free Press, 219 Mich. App. 150, 156, 555 N.W.2d 738, 741 (1996).

        “We note that the wire-service defense is not so much a defense as it is a

 definition of a local news organization's duty”. Id.

       This defense is only available to a news agency. Id. at 154. In Howe, a major

 league pitcher had news articles written about his family, their abuse and his drug

 addiction. The Detroit Free Press obtained the article from the KTN News Wire.

       The court noted this defense is available to local news agencies. Id. at 154.

 Here, Defendant Nehlen is not a news agency. He is a politician with a Twitter

 account.

       Howe goes on to state that the defense is only available if the local news

 obtained the story from a reputable news wire. Id. at 156. Here, GotNews is not

 reputable media. (https://mediabiasfactcheck.com/gotnews/). Nor is it a newswire

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 which sells stories to subscribers which are newspapers and news magazines.

 Reuters, Ltd. v. United Press Int’l, Inc., 903 F.2d 904, 905 (2nd Cir. 1990).

       Finally, Howe requires that the story be from a reputable source and free from

 internal inconsistencies. Howe at 741. Here, the GotNews’ article is internally

 inconsistent. It blames the Vangheluwes for a murder in Virginia. GotNews clearly

 identified the Vangheluwes as residing and going to school in Michigan. Yet, they

 also claim the car in question is registered in Ohio. Any reasonable “news agency”

 would at least investigate this internal inconsistency before publishing it.

       Therefore, the wire-service defense cannot be used by the Defendant as the

 Defendant is not a news organization by any definition.

                                    CONCLUSION

       For the above-stated reasons, this Court should deny Defendant Paul Nehlen’s

 Fourth Motion to Dismiss in its entirety.

                                        PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs’ request this Court

 deny Defendant Paul Nehlen’s Fourth Motion to Dismiss.

                                                 Respectfully submitted,

                                                 SOMMERMAN, McCAFFITY
                                                 & QUESADA, L.L.P.

                                                 _/s/_Andrew B. Sommerman_______
                                                 Andrew B. Sommerman*

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                            CERTIFICATE OF SERVICE

      The undersigned certifies that on June 20, 2018, the foregoing Plaintiffs’
 Response to Defendant Paul Nehlen’s Fouth Motion for Dismissal was served via
 ECF on counsel of record who have appeared in the case.

        Furthermore, on June 20, 2018, I affirm that I placed true and accurate copies
 of this document in First Class postage-prepaid, properly addressed, and sealed
 envelopes which were addressed to: Lita Coulthart-Villanueva, 1543 Jeffries St.,
 Anderson, CA 96007 and Kenneth G. Strawn, 23874 Cypress Lane, Mission Viejo,
 CA 92691.



                                                 _/s/_Andrew B. Sommerman______
                                                 Andrew B. Sommerman




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